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                                                        FILED: July 13, 2020


                   UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT


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                                   No. 19-1124
                           (1:18-cv-00957-CMH-TCB)
                             ___________________

 UMG RECORDINGS, INC.; CAPITAL RECORDS, LLC; WARNER BROS
 RECORDS INC.; ATLANTIC RECORDING CORPORATION; ELEKTRA
 ENTERTAINMENT GROUP INC.; FUELED BY RAMEN LLC; NONESUCH
 RECORDS INC.; SONY MUSIC ENTERTAINMENT; SONY MUSIC
 ENTERTAINMENT US LATIN LLC; ARISTA RECORDS LLC; LAFACE
 RECORDS LLC; ZOMBA RECORDING LLC

             Plaintiffs - Appellants

 v.

 TOFIG KURBANOV, d/b/a FLVTO.BIZ, a/k/a 2CONV.COM; DOES 1-10

             Defendants - Appellees

 ________________________

 COPYRIGHT ALLIANCE; INTERNATIONAL ANTICOUNTERFEITING
 COALITION; MOTION PICTURE ASSOCIATION OF AMERICA, INC.;
 ASSOCIATION OF AMERICAN PUBLISHERS

             Amici Supporting Appellants

 ELECTRONIC FRONTIER FOUNDATION

             Amicus Supporting Appellees
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                          STAY OF MANDATE UNDER
                             FED. R. APP. P. 41(d)(1)
                         _____________________________

      Under Fed. R. App. P. 41(d)(1), the timely filing of a petition for rehearing

or rehearing en banc or the timely filing of a motion to stay the mandate stays the

mandate until the court has ruled on the petition for rehearing or rehearing en banc

or motion to stay. In accordance with Rule 41(d)(1), the mandate is stayed pending

further order of this court.


                                                        /s/Patricia S. Connor, Clerk
